                        Case 3:13-cr-00100-WKW-CSC Document 573 Filed 11/05/14 Page 1 of 6

AO 245B            (Rev 01) 1) judgment in a Crimlila] Case
 I                 SLniei I



                                                  UNITED STATES DisTRicT COURT
                                                              MIDDLE DISTRICT OF ALABAMA

                  UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIiIAL CASE
                             V.
                                SANDY BROWN                                                Case Number: 3:13crl00-13WKW

                                                                                           USM Niuuher: 14783-002

                                                                                            Jeffery Duffey, Garrett Sauctr
                                                                                              I nii1ail   A I lorill'.
li-IF DEFENDANT:
      padcd f0i11             c01nl(s)         13ss of the Second Superseding Indictment on 04/28/2014
0 pleaded 110 o con tendere to c it u a
   which was accepted h he couri.
      vas found guilty on count(s)
      a fter a plea ol tot guilty.

ihe defendant is adjudicated guilty of these offenses!

litic & Section                          Nature of Offense                                                                OlTenst Ended   Count

     7:21 56(a)(1)                        Sponsoring and Exhibiting a Dog in an Animal Fighting Venture                    02/182012        13ss




       icc idditiojiut coulit(S) Ill] puec 2


      The defendant is                          as provided in pages 2 tliroiiih 6 of this judgment. The sentence is ir posed pursuant to the
Sentencing Retoriut Act of 1984.
      The defendant has been found not guilty on count(s)

      count(s) (*) see below                                     U is        'are dianiissed on the motion of the United States.

           It is oid'.ned that the d.knd ml nust notify the iiiid i tics ltoincy toi this district within 30 days & f my cllanne of numi. rLsidence
or nta.iluirt address until all fines. rcsLitulion, costs, and special assessments imposed by this judgflleTit arc hill:' paid U ordered to pay restnutioii,
the defendant niost notify the court and United States attorney ui mater:aI changes in economic circumstance:;.
() ,)s,1ss,1313s15,15s15ss,1717s43ss                                             1114/2014
                                                                                  Dal       npo. Ii lull a .iudSiilcllt




                                                                                  Signature 01' ,Iudge

                                                                                 W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                                 NIllila lii i lIdlic            'I We ol .1 lIdL'c
                     Case 3:13-cr-00100-WKW-CSC Document 573 Filed 11/05/14 Page 2 of 6

A() 245B        (Rev 09 1 11) Judgriieiit in a Criniiimi Ca
 1              Sheet 2 - Imprisonment

                                                                                                                          Judgment Page: 2 of 6
     DEFENDANT: SANDY BROWN
     CASE NUMBER: 3:13cr100-13-WKW


                                                                       IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imp isoned for a
     total term o:
      6 Months




             The court makes the tollowing recommendations to the Bureau of Prisons:




        El The defendant is remanded to the custody of the United Slates Marsha].

             The defendant shall surrender to the United States Marshal for this district:

             El at ___________           ____________         El am.     El p.m.       on

             El as notified by the United States Marshal.

             The dclCndani shall surrender tbr service of senLeuce at the institution designated by the Bureau of Prisons:

             rer before 2:00 PM             on                _13015 ...............
             El as notified by the United States Marshal.
             El as notified h> the Prohation or Pretrial Services 0111cc,


                                                                             RETURN
      have executed this judgnienl as follows:




            Defendant delivered on                                                                to

     a                                                          with a eertiflad copy of this udgmenl.



                                                                                                            UNITED STATES MARSHAL,




                                                                                                         DEPUTY UNITED :TATES MARSHAL.
                          Case 3:13-cr-00100-WKW-CSC Document 573 Filed 11/05/14 Page 3 of 6

AO 24511             (l{cv, 09/11) Judgment iii a Criminal Case

vI                   Sheer 3 - Supervised Release


                                                                                                                                 Judgment Page: 3 of 6
 DEFENDANT: SANDY BROWN
 CASE NUMBER: 3:13crlOO-13-WKW
                                                                  SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall he on supervised release for a term of:
     1 Year


          l'hcdel'endani must report to the probation office in the district to which the defendant is released ss thin 72 hours of release from the
 custody iii he Bureau of Prisons.
 The defendant shall 1101 commit another federal, slate or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unliwful use of a controlled
 substance. The defendant shall submit to one drug lest within 15 days of release from imprisonment and at last two periodic drug tests
 thereafter, as determined by the court.
             The above drug tesling condition is suspended, based on the court's determination that the defendant pises a low risk of
             I utu re substance abuse. (Check, tfoppficcthlr'.)

             The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. Check. iJappficahk')

             The defendant shall cooperate in the collection Of DNA as directed by the probation officer. (Check, ,JcielicabIe)

             The defendant shall comply wiih the requirements of the Sex Offender Registration and Notification Aot (42 U.S.C. § 16901, ci seq.)
             as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agene' in which he or she resides,
             works, is a student, or was convicted of a qualifying offense. (Check, if applicable)

 D           The defendant shall participate iii an approved pam flu' domestic violence. (Check. iJappIicth/c.)

     -       Iithis judgment imposes a line or restitution. [is a condition ofsuperviscd release that the deiendt it pay in accordance with the
     Schedule of Payments sheet of this judgment.
           The defendant must compl y roh the standard enndi(ions that ha c been adopted h) this court as well as with any additional conditions
 on the attached page

                                                  STANDARD CON 1)1T1ONS OF SUPERVISION
        1)     the defendant shall not leave the judicial district without the permission of the court or probation ofti . er;
       2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)     the defendani shall answer truthfully all inquiries by the pi'ohtition officer and follow the instructions af the probation officer;
       4)      the defendant shall support his or her dependents and meet other fumily responsibilities;

         )    the defendant shall work regularly at a lawful oCCupation, unless excused by the probation officer fu schooling, training, or other
              acceptable reasons;
       6)     the defendant shall notify the probation officer at Icast Len days prior to any change in residence or enmployment
       7)     the defendant shall refrain From excessive use of alcohol and shall not purchase. possess, use, distrihi.ite, or administer any
              controlled substance or any paraphernalia related to an controlled substances, except as prescribed by a physician;
       8)     the defendant shall not f'requent places where controlled substances are illegally sold, used, distrihutt d. or administered:
       9)     the defendant shall not associate with any persons en'aged in criminal activity and shall not associatc with any person convicted ufa
              felon y , unless granted permission to do so by the p1'oat1 an o 'fleer;
      Ill)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and ihall permit confiscation of'any
              contraband observed in plain view of the probation officer:
     II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcenent officer:
     12)      the defendant shall not enter into any agreement in net as an informer or a special agent ofa law enfircemnt agency without the
              permission of the court; and

     13)      as directed by the probation officer, the defendant shall notili third parties of risks that may be oeeasi ned b y the defendant's criminal
              record or personal history or characteristics and shall pcl'lnit [lie probation officer to make such notit canons and co confirm the
              defendant s compliance with such notification requirement.
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AO 245H        (Rev. 09/I I) Judgment in a Cnniinii Case
vi             SliceS 3C - SuperLsed Release

                                                                                                            Judgment Page: 4 of 6
 DEFENDANT: SANDY BROWN
 CASE NUMBER: 3:13cr100-13-WKW


                                             SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall participate in a program approved by the United States Probation Office for sub :ance abuse, which will
     include testing to determine whether he has reverted to the use of drugs. Defendant shall contribute to the cost of any
     treatment based on ability to pay and the availabity of third-party payments.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.

     Defendant shall not possess a dog during his pehod of supervised release.
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AO 245B          (Rev. 09'1 1) iudgnieri[ iii a Criminal Case
 1               Sheet i - Criminal Monetary Penalties

                                                                                                                                Judgment Page: 5 of 6
     DEFENDANT: SANDY BROWN
     CASE NUMBER: 3:13crlOO-13-WKW
                                                       CRIMINAL MONETARY PENALTIES
         The defendant, must pay the total criminal monelary penalties under the schedule of payments on Sheet S.


                            Assessment                                           Fine                                  Restillition
     TOTALS            S 100.00                                                  2,000.00                           S $0.00



         The determination of restitution is deferred until 2(412015 . An Amended Judgment in a Criminal flose (A0 245C) will be entered
         after such determination.

     E The defendant must make restitution (including community resti [Lit ion) to the following payees in the a bunt listed helow.
                                                                    y
         If the defendant makes a partial payment, each pa ee shall receive an approximately proportioned payment, unless specified otherwise in
         the priorityorder or percentage paym
                                            ent column below. I]ocvcr, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

     Name of Payee                                                           Total Loss*                  Restitution Ordere :1 Priority or Percentage




TOTALS                                                                                        $0.00



E        Restitution amount ordered pursuant            to plea afreemeut 8 ---        ----- - -      -

E                                    y
         The defendant must pa interest on restitution and a fine ol mote than 82,500, unless the restitution or inc is paid in full before the
         ii ftccnth day after the date of thejudgment, pursuant to 18 U S.C. § 3612(f). All of the payment optioi on Shed 6 may he subject
         10 penalties fur delinquency and default. pursuant to 18 USC, 3612(g).


         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

               he interest requirement is Nvaived for the                 line   F7 restitution.

              the interest requirement for the             E fine       El restitution is modified as follows:

* Findings for the total amount of losses are required under Chu1crs 109A, 110, II PA. and 113A of Title 18i )roflenses committed on or after
September 13, 1994, but before April 23, 1996.
                  Case 3:13-cr-00100-WKW-CSC Document 573 Filed 11/05/14 Page 6 of 6

AO 24513      (Rev 09/11) Judgment in a Criminal Case
V1            Sheet 6   Schedule olPaymenis

                                                                                                                         Judgment Page: 6 of 6
 DEFENDANT: SANDY BROWN
 CASE NUMBER: 3:13cr100-13-WKW

                                                         SCHEDULE OF PAYMENTS

 I la inc assessed the defendant's ability 10 pay, payment or the total criminal monetary penalties is doe as l lows:

 A     11 Lump sum payment of S 2,100.00                    -   due immediately, balance due

                  not later than
                  in accordance               C,        El D.         l. or    1w" F below; or

 B          Payment to begin immediately (may be conihi ned with               C.           0, or        F below); or

 C          Payment in equal                    (e.g., week/i', monthly, quarter/v) installments of' $                           over a period of
                         (e.g months or years), m commence                        (eg.. 30 or 60 da ys) after the date of this judgment; or

 D         Payment in equal                       (e.g., week/v. monthl y, quarterly) installments of S                         over a period of
                         (eg., months or years), to Coiiinicnee                     (e g., 30 or 60 days) after release rom imprisonment to a
           term of superv sum; or

 £     F1 Payment during the term of supervised release vsi!l commence within               -- (e.g., 30 or 611 da ys) aRer release from
           imprisonment. The court will set the payment plan hosed an an assessment of the defendant's ability to pay at that time; or

 Ir         Special instructions regarding the payment ol' crimiital nsonetaiy penalties;

            All criminal monetary payments are to be made to the Clerk, United States District Court, Middl:' District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101. Any balance of the fine remaining at (he start of supervision shall be paid at a
            rate of not less than $200.00 per month,




 Unless the court has expressl y ordered otherwise, if this iudgment imposes imprisonment, payrrn( oferirrinal monetar y penalties is due during
 imprisonment. All erimnal nonetary penalties. except those payments made through the Federal Bureau o Prisons' Inmate Financial
 Responsibility Program. are made to the clerk of the court.

 The defendant shall receive credit tr all payments previously made inward any criminal monetary penalties imposed.




 LI   Joint and Several

      Defendant and Co-Defendant Names and Case Numbers /im'/ uthog defendant number,), Total Amount, to: nt and Several Amount,
      and corresponding payee, i] appropriate.




 U    '['he defndant shall pay the cost of prosecution,

 Ll   The defendant shall pay the fldlowing court cost(s);

      The defendant shall forfeit the defendant's interest in the l lolloNv j n g property to the United States:




Payments shall he applied in the following order; (I) assessment. (2) restitution principal. (3) restitution inte est, (4) fine principal.
(5) fine interest, (6) communit y restitution, (7) penalties, and (i) costs, including cost of prosecution and coirt costs.
